
USCA1 Opinion

	













        February 15, 1996       [NOT FOR PUBLICATION]

                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________
        No. 95-1725

                          CARIBE HILTON INTERNATIONAL, D/B/A
                             CARIBE HILTON INTERNATIONAL,

                                Plaintiff - Appellant,

                                          v.

          UNION DE TRABAJADORES DE LA INDUSTRIA GASTRONOMICA DE PUERTO RICO;
              LOCAL 610 OF THE HOTEL EMPLOYEES AND RESTAURANT EMPLOYEES
                         INTERNATIONAL UNION AFL-CIO, ET AL.,

                                Defendant - Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Hector M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                            Aldrich, Senior Circuit Judge,
                                     ____________________
                               and Stahl, Circuit Judge.
                                          _____________

                                 ____________________

            Roberto E.  Vega-Pacheco,  Mayra I.  Rivera-Delgado, and  Martinez
            ________________________   ________________________       ________
        Odell &amp; Calabria on brief for appellant.
        ________________
            Francisco Aponti Perez on brief for appellee.
            ______________________

                                 ____________________


                                 ____________________
                      Per  Curiam.    Plaintiff-appellant  Caribe  Hilton
                      Per  Curiam.
                      ___________

            International ("the  Hotel") brought an action  in the United

















            States  District  Court for  the District  of Puerto  Rico to

            vacate a labor  arbitration award.  The district  court ruled

            against  the Hotel  on  cross motions  for summary  judgment,

            affirming  the arbitral award.  The Hotel appeals.  We affirm

            the ruling below.

                      This dispute arose from  a disagreement between the

            Hotel and the appellee  Union as to the appropriate  ratio of

            banquet waiters to function patrons, an issue that had been a

            source of  conflict  for some  time.   On August  3, 1990,  a

            dispute  arose  again  over  the waiter-patron  ratio.    The

            banquet waiters' union representative called a work stoppage;

            the protest quickly  spread to all departments  of the Hotel.

            For  two to  three hours, about  300 employees  stopped work,

            bringing the entire  Hotel's operations to a  standstill.  It

            is  undisputed that  the  action was  an  illegal strike,  in

            violation of  the collective bargaining agreement.   At issue

            is the Hotel's response to the illegal strike.

                      The  Hotel terminated  all of the  banquet workers,

            even  though the  arbitrator found  that the  several waiters

            played decidedly  different roles in instigating  the strike.

            The  employees  from  other   departments  were  only  mildly

            penalized,  by the  loss of  pay for  the two  or three  hour

            duration of  the strike.   The union sought  arbitration, and

            the parties submitted the issue to the arbitrator as follows:

            "[W]hether  the dismissal of all  the complainants was or not



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            [sic] justified.   If not,  that the  arbitrator provide  the

            corresponding remedy."

                      The arbitrator  ruled that the  dismissals were not

            justified.   Specifically,  the  arbitrator  found  that  the

            dismissals  constituted  discrimination  against the  banquet

            workers (as  a group) vis-a-vis  the employees  in the  other

            departments, and that the dismissals were unfair as among the

            individual banquet workers because the remedy did not reflect

            the  waiters' varying  levels of  culpability.   Having found

            that  the  dismissal  of  the workers  was  unjustified,  the

            arbitrator  proceeded  to  determine  an  appropriate remedy,

            consistent  with  the  parties'  arbitral  submission.    The

            arbitrator  divided the  waiters into  three groups  based on

            their  culpability  in instigating  the  strike.   All  three

            groups were reinstated,  but backpay  and suspension  periods

            were tailored to each group's culpability.

                      A court's  review of  a labor arbitration  award is

            highly deferential.   See United Paper Workers Int'l Union v.
                                  ___ ________________________________

            Misco, Inc., 484  U.S. 29,  36-38 (1987) ("[A]s  long as  the
            ___________

            arbitrator  is  even  arguably  construing  or  applying  the

            contract and acting within the scope of its authority, that a

            court  is  convinced  he  committed serious  error  does  not

            suffice  to overturn  his  decision.").   The district  court

            affirmed  the  arbitrator's  award  in  a  comprehensive  and

            detailed opinion, consistent with the deferential standard of



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            review.  That opinion addresses all of the arguments that the

            Hotel  raises in this appeal.  Pursuant to First Circuit Rule

            27.1,  we affirm  the  judgment below  on  the basis  of  the
                      ______

            district court's well-reasoned opinion.













































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